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Case 2:24-cv-00782-cr Document 51-1 Filed 09/23/24 Page 2 of 2

RE: Account Inquiry x

Date: 09/15/2024 Account: Individual ...548 Category: Customer Service

From: Schwab Client Service
Message #: 06919NK6UYEN6KMS
Dear Mr. Traudt,

Thank you for taking the time to reach out to Charles Schwab! My name is Samantha and | would be happy to help you
today.

| apologize, but this is not something we are able to do. Messages were one of the items that were not going to
transition over with your account. We recommended saving any messages you might want before your account moved
over, but we do not have a way to put them into your Schwab account.

if you have any further questions, please start a live chat on Schwab.com or reply to this secure message. Our
representatives are available at any time to assist you. We greatly appreciate your business.

Sincerely,

Samantha Yenzer
eServices Representative
Client Service & Support
1-800-435-4000

All interactions are subject to recordkeeping and monitoring. The Charles Schwab Corporation provides a full range of brokerage, banking and
financial advisory services through its operating subsidiaries. Its broker-dealer subsidiary, Charles Schwab & Co., Inc. (Member SIPC), offers
investment services and products, including Schwab brokerage accounts. Its banking subsidiaries, Charles Schwab Bank, SSB (Member FDIC
and an Equal Housing Lender), Charles Schwab Premier Bank, SSB (Member FDIC) and Charles Schwab Trust Bank (Member FDIC), provide
deposit and lending services and products.

investment and Insurance Products: Not a Deposit « Not FDIC Insured « Not Insured By
Any Federal Government Agency * No Bank Guarantee + May Lose Value

Guard against identity theft by avoiding email and internet fraud: Be aware that Schwab will never request or disclose your personal information
(account number, login password, Social Security Number) in either a non-secure or unsolicited email communication.

From: Scott Traudt
Sent: 9/14/2024 7:31:28 AM

Hello folks please repopulate my account message center with all my messages back to 9 December 2022 from when | was
with TDA. Thanks, Scott Traudt. 14 Sept 2024

Close

